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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

THOMAS SCOTT,

      Plaintiff,                               Case No.: 8:21-cv-01322-CEH-AAS

vs.

ST. PETERSBURG COLLEGE
BOARD OF TRUSTEES,

     Defendant.
___________________________/

       NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL AND
          DESIGNATION OF EMAIL ADDRESS FOR SERVICE

      Andrew J. Silvers, Esquire hereby enters his appearance as counsel of record

in this case for Plaintiff, THOMAS SCOTT, in the above-styled cause, and

respectfully requests that this Honorable Court forward to the undersigned any and

all notices, correspondence, pleadings, and any other pertinent data pertaining to the

above-styled cause. The following e-mail address is designated for the purpose of

service of all documents required to be served pursuant to Rule 2.516:

             Primary E-Mail Address: andrew@goodwin-firm.com.
             Secondary E-Mail Address: sandra@goodwin-firm.com

                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 21, 2022, a true and correct copy of

the foregoing was electronically filed with the clerk of the court by using CM/ECF

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system which will send a notice of electronic filing to Mark E. Levitt, Esq.

mlevitt@anblaw.com, Howard M. Waldman, Esq., Email: hwaldman@anblaw.com

ALLEN, NORTON & BLUE, P.A. 1477 W. Fairbanks Ave., Suite 100 Winter Park,

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                                          /s/ Andrew J. Silvers
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